    Case 3:16-cv-00294-BTM-MDD Document 11 Filed 03/08/17 PageID.72 Page 1 of 1
                                                                        FILED
                                                                        MAR o 8 2017
                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA            clerk, u.s. district court
                                                               S'     ERN D'S'RICT OF CALIFORNIA
                                                                                           DEPUTY



Danny Huntley ,                           CASE NO.16cv0294-BTM-MDD
                      Plaintiff,
               VS.                        JUDGMENT AND DISMISSAL BY COURT
                                          UNDER RULE 4(m) F.R.Civ.P. FOR WANT
 Steven M. Mollenkopf,                    OF PROSECUTION
                      Defendant.


The above-entitled cause, having come before the court on a calendar called
pursuant to notice under Rule 4(m), F.R.Civ.P. for failure to serve
process, and it appearing to the court that the summons and complaint have
not been served, and there is no good cause for a further extension of time
to serve, therefore,

IT IS ORDERED, ADJUDGED AND DECREED that the above-entitled cause is hereby
dismissed as to all defendant (s) without prejudice, for want of
prosecution.




DATED:03/06/2017
                                               a
                                          Barry Ted Moskowitz
                                          UNITED STATES DISTRICT JUDGE


                                            ENTERED ON
